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SO ORDERED.

SIGNED this 14th day of January, 2025.




                           UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA
                                   DURHAM DIVISION



   IN RE:
                                                          CASE NO. 20-80421
   Robert Bernard Rawls
                   Debtor                                 CHAPTER 13


        ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS


            This matter coming before the Court upon the Application for Payment of Unclaimed Funds

   filed on 1/8/2025 by Dilks & Knopik, LLC as assignee of the heirs of the original claimant, Natasha

   Sykes Rawls; it appearing to the Court that the Application was noticed out in error on January 8,

   2025 with a deadline of January 31, 2025 for objections; and the Court, after considering the

   Application, finds the Application should be denied; the proper successor claimant is a duly

   appointed Personal Representative of the Estate of Natasha Sykes Rawls with the unclaimed funds to

   be payable to said Estate; therefore, it is

           ORDERED that the Application for Payment of Unclaimed Funds filed by Dilks & Knopik,

   LLC is DENIED and the deadline for objections is Moot because the Application is denied.

                                            END OF DOCUMENT
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                                 PARTIES TO BE SERVED


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